
296 A.2d 120 (1972)
STATE
v.
Robert O. LEWIS.
No. 1785-Ex.
Supreme Court of Rhode Island.
November 1, 1972.
Richard J. Israel, Atty. Gen., Alexander G. Teitz, Asst. Atty. Gen., for plaintiff.
William F. Reilly, Public Defender, Featherston, Homans &amp; Klubock, Daniel F. Featherston, Jr., Boston, Mass., for defendant.
Motion to dismiss.


*121 ORDER
The state's motion to dismiss the defendant's bill of exceptions on the ground that he is a fugitive from justice, having escaped from the Adult Correctional Institutions, is denied without prejudice to its right to renew when the defendant shall again be in its custody or on or after the 1st day of June 1973, whichever shall occur first. See Anderson v. Anderson, 108 R.I. 758, 279 A.2d 422.
In the interim the case shall not be placed upon the current argument list.
